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                      IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH


EXKAE LTD., Lead Plaintiff, and
JARETT PATTON, MARISA ELLIS,
JOHN MARBACH, and LISA DAVIS,                                       JUDGMENT
Individually and On Behalf of All Others
Similarly Situated,                                     Case No. 2:19-CV-781-DAK-DAO

                      Plaintiffs,                       Judge Dale A. Kimball Magistrate

v.                                                            Judge Daphne A. Oberg

DOMO, INC., JOSHUA G. JAMES,
BRUCE FELT, FRASER BULLOCK,
MATTHEW R. COHLER, DANA EVAN,
MARK GORENBERG, NEHAL RAJ,
and GLENN SOLOMON,

                      Defendants.



       Based on this court’s December 15, 2020 Memorandum Decision and Order dismissing

Plaintiffs’ Amended Class Action Complaint against all Defendants, Plaintiffs’ action is

dismissed.

       DATED this 15th day of December, 2020.

                                            BY THE COURT:




                                            DALE A. KIMBALL
                                            United States District Judge
